       Case 4:20-cv-05640-YGR Document 1034-3 Filed 10/15/24 Page 1 of 2




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                               UNITED STATES DISTRICT COURT
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                           NORTHERN DISTRICT OF CALIFORNIA
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                                       OAKLAND DIVISION
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     EPIC GAMES, INC.,                             Case No. 4:20-CV-05640-YGR-TSH
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14                 Plaintiff, Counter-defendant,   [PROPOSED] ORDER DENYING APPLE
                                                   INC.’S MOTION TO MODIFY ORDER
15                        v.                       REGARDING WITNESS
                                                   COMMUNICATIONS
16   APPLE INC.,

17                 Defendant, Counterclaimant.     Judge: Hon. Yvonne Gonzalez Rogers
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     [PROPOSED] ORDER DENYING APPLE INC.’S
     MOTION TO MODIFY ORDER RE:                              CASE NO. 4:20-CV-05640-YGR-TSH
     WITNESS COMMUNICATIONS
        Case 4:20-cv-05640-YGR Document 1034-3 Filed 10/15/24 Page 2 of 2




1           Apple Inc. (“Apple”) has filed an administrative motion to modify this Court’s May 31,

2    2024 Order governing the communications of Apple witnesses who testified at the May 2024

3    evidentiary hearing. See Dkt. 974. Having considered the motion, all associated briefs,

4    declarations, exhibits, Epic Games, Inc.’s opposition and for good cause appearing:

5           IT IS HEREBY ORDERED that Apple’s administrative motion is DENIED.

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7     Dated: ______________, 2024
                                                         The Honorable Yvonne Gonzales Rogers
8                                                        United States District Court
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     [PROPOSED] ORDER DENYING APPLE INC.’S
     MOTION TO MODIFY ORDER RE:                                 CASE NO. 4:20-CV-05640-YGR-TSH
     WITNESS COMMUNICATIONS
